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11 Counterclaimant TP-Link USA Corporation

12
                              UNITED STATES DISTRICT COURT
13                           CENTRAL DISTRICT OF CALIFORNIA
14                                   WESTERN DIVISION
15
     THIMES SOLUTIONS INC.,                    CASE NO.: 2:19-cv-10374-SB-E
16

17              Plaintiff,                     TP-LINK USA’S NOTICE OF
                                               ERRATA TO JOINT APPENDIX OF
18        v.                                   EVIDENCE
19
     TP-LINK USA CORPORATION, and              Judge: Hon. Stanley Blumenfeld, Jr.
20 AUCTION BROTHERS, INC. d/b/a

21 AMAZZIA,                                    Date:      Friday Oct. 7, 2022
                                               Time:      8:30 a.m.
22              Defendants.                    Courtroom: 6C
23
                                               Complaint Filed:    May 29, 2019
24                                             Amended 5th Amended
25                                             Complaint Filed:    May 27, 2022
                                               Trial Date:         Jan. 9, 2023
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                                                                        No. 2:19-cv-10374-SB-E
                       NOTICE OF ERRATA TO JOINT APPENDIX OF EVIDENCE
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 1 TP-LINK USA CORPORATION,

 2
               Counterclaimant,
 3

 4        v.

 5 THIMES SOLUTIONS INC.,

 6
               Counter-Defendant.
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                     NOTICE OF ERRATA TO JOINT APPENDIX OF EVIDENCE
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 1 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 2        Defendant and Counterclaimant TP-Link USA Corporation (“TP-Link”)
 3 respectfully submits this notice of errata to its previously filed Joint Appendix of

 4 Evidence (“JAE”). In preparing Chambers Copies, it was discovered that while Exhibit

 5 26 should be the Declaration of Victor Meng, instead, the Declaration of Heather

 6 Auyang was inadvertently included. The Declaration of Heather Auyang is Exhibit 24.

 7        Attached hereto as Exhibit A is the Corrected Joint Appendix of Evidence, which
 8 TP-Link intends to file. Today, TP-Link sent Chambers Copies of the Joint Appendix

 9 of Evidence (filed on Sept. 9, 2022). To conform to the Corrected Joint Appendix of

10 Evidence, TP-Link will also send a Chambers Copies of just the Declaration of Victor

11 Meng (Exhibit 26).

12        TP-Link respectfully requests the Court disregard the document previously filed
13 on September 9, 2022 (ECF No. 217-03) and treat the attached, “Corrected Joint

14 Appendix of Evidence” filed with this notice as the operative amended joint appendix

15 of evidence.

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17 Date: September 12, 2022                      LTL ATTORNEYS LLP
18
                                            By: /s/ Heather F. Auyang
19                                              Joe H. Tuffaha
                                                Prashanth Chennakesavan
20
                                                Heather F. Auyang
21                                              Patice A. Gore
22
                                                 Counsel for Defendant and
23                                               Counterclaimant
                                                 TP-Link USA Corporation
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                                             1                         No. 2:19-cv-10374-SB-E
                      NOTICE OF ERRATA TO JOINT APPENDIX OF EVIDENCE
